Case 2:04-cv-02399-.]DB-dkv Document 18 Filed 05/03/05 Page 1 of 13 Page|D 27

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DIRECTV, Inc., a California
Corp.,

Plaintiff,

vs. ) No. 04-2399 BV

JESSE POWELL,

Defendant.

 

REPORT AND RECOMMENDATION ON PLAINTIFF'S
MOTION FOR SUMMARY JUDGMENT

 

On May 27, 2004, the plaintiff, DIRECTV, filed a complaint
alleging that the defendant, Jesse Powell (“Powell”), purchased,
possessed, and used a device to secretly intercept DIRECTV's
satellite television programing, in violation of the Federal
Communications Act of 1934, as amended (“FCA”), 47 U.S.C. § 605;
the Electronic Communications Privacy Act (“ECPA”), 18 U.S.C. §§
2510-2521; Tenn. Code Ann. § 39-13-601 and Tenn. Code Ann. §§ 39-
14-104, 7-59-109 and Tennessee common law. Before the court is
the motion for summary judgment filed by DIRECTV. The motion was
referred to the United States Magistrate Judge for a report and
recommendation. For the following reasons, it is recommended that

the motion be granted.

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Case 2:04-cv-02399-.]DB-dkv Document 18 Filed 05/03/05 Page 2 of 13 Page|D 28

I. PROPOSED FIN'DINGS OF FACT

For the purposes of this motion, the court finds that the
facts set forth by DIRECTV are undisputed. DIRECTV's motion for
summary judgment is premised on Powell's failure to timely respond
to requests for admissions. DIRECTV argues that Powell, by his
failure to timely respond to their request for admissions, is
deemed to have admitted certain matters which conclusively
establish DIRECTV's claim against Powell as a matter of law.

Under Federal Rules of Civil Procedure 36(a) and 36(b), if
responses to requests for admissions are not timely filed within
the time permitted by the Rules, they are deemed to be admitted
unless the court on motion permits withdrawal or amendment of the
admission. Rule 36(a) provides in pertinent part:

The matter is admitted unless,r within 30 days after

service of the request, or within such shorter or longer

time as the court may allow or as the parties may agree

to in writing, subject to rule 29, the party to whom the

request is directed serves upon the party requesting the

admission a written answer or objection addressed to the

matter, signed by the party or by the party's attorney.
FED R. Crv. P. 36(a). According to the certificate of service
attached to DIRECTV’s requests for admission, the requests for
admission were served on Powell on January 7, 2005, by placing them
in the mail. Under the Rules, responses were due by February, 10

2005. Powell has yet to respond to the requests for admission nor

has he filed a motion asking that the time to respond be extended

Case 2:O4-cv-O2399-.]DB-dkv Document 18 Filed 05/03/05 Page 3 of 13 Page|D 29

or that he be allowed to withdraw any assumed admission.
Accordingly, the requests for admission propounded by DIRECTV are
deemed admitted.

The court has searched the record but finds no response from
Powell to DIRECTV's motion for summary judgment. Pursuant to local
rule 7.2(a)(2), failure to respond timely to a motion may be deemed
good grounds for granting the motion. However, the rule does not
apply to motions requesting the dismissal of a claim or action.
Additionally, Rule 56 of the Federal Rules of Civil Procedure
indicates that the failure to properly respond to a nmtion for
summary judgment alone is not sufficient grounds for granting
summary judgment.l Therefore, despite the fact that Powell has not
responded to DIRECTV's motion, this court must determine whether
any genuine issue of material fact exists sufficient to preclude an
award of summary judgment and whether the plaintiff is entitled to

a judgment as a matter of law. Neverthelessl the failure to

 

1. The pertinent part of that rule states:

When a motion for summary judgment is made and supported
as provided in this rule, an adverse party may not rest
upon the mere allegations or denials of the adverse
party's pleading, but the adverse party's response, by
affidavits or as otherwise provided in this rule, must
set forth specific facts showing that there is a genuine
issue for trial. If the adverse party does not so
respond, summary judgment, if appropriate, shall be
entered against the adverse party.

FED. R. CIV. P. 56(e) (emphasis added).

3

Case 2:O4-cv-O2399-.]DB-dkv Document 18 Filed 05/03/05 Page 4 of 13 Page|D 30

respond to a motion for summary judgment inevitably tends to hinder
a party's ability to avoid summary judgment as that party will not
have set forth any affidavits or other materials “set[ting] forth
specific facts to show that there is a genuine issue for trial.”
FED. R. CIv. P. 56(e).

Thus, the following are undisputed facts:

l. DIRECTV is a California-based company in the business of
delivering satellite television broadcasts to homes and businesses
equipped with specialized digital satellite system equipment
throughout the United States, including Memphis, Tennessee. Comp.
j l.

2. Each subscriber to DIRECTV's satellite signal must be
equipped with digital satellite hardware, which consists of a
satellite dish, and integrated receiver/decoder (“IRD”) and an
access card that is necessary to operate the IRD. Comp. q 2.
Through this digital system, DIRECTV sells it satellite programming
to subscribers for a nmnthly fee or on a “pay-per-view basis.
Comp. j 6.

3. To prevent the unauthorized interception and use of the
satellite programming by individuals who have not paid for the
service, DIRECTV encrypts its satellite transmissions and employs
conditional access technology. Comp. j 4. The conditional access

technology relies in part on “access cards” that are provided to

4

Case 2:O4-cv-O2399-.]DB-dkv Document 18 Filed 05/03/05 Page 5 of 13 Page|D 31

consumers as components of the digital satellite system equipment
and which, upon activation by DIRECTV, decrypt DIRECTV’s
programming and permit the consumer to access and view it. Comp.
1]4.

4. Once a DIRECTV customer obtains an access card and other
system hardware and creates an account with DIRECTV, the customer
can receive and view the unscrambled channels for which the
customer has subscribed. Comp. q 5.

5. On or about July l, 2002, DIRECTV obtained the business
records of Ryan Dellazizo and Brad Cohen, the operators of multiple
internet pirate access sales websites, including Dsswhiz.com.
These records contained evidence of an ongoing illegitimate
enterprise which focused on distributing electronic devices
primarily designed for the surreptitious interception of satellite
communications broadcasts by DIRECTV. Comp. q 16.

6. The business records obtained from Dellzizo and Cohen
indicated that on or about November 28, 2001, the defendant, Jesse
Powell ordered and received two (2) High Quality Bootloaders for P2
Series Smart Cards from DSS Whiz or DssWhiz.cdm. These products
had the primary design for and purpose of facilitating the
unauthorized interception of DIRECTV's encrypted signal. Comp. j
19; Admission No. 6.

7. The business records also indicated that on or about

Case 2:O4-cv-O2399-.]DB-dkv Document 18 Filed 05/03/05 Page 6 of 13 Page|D 32

December 14, 2001, Powell had purchased and received one (l) High
Quality Bootloader for P2 Series Smart Cards from DSS Whiz or
DssWhiz.com. This product also had the primary design for and
purpose of facilitating the unauthorized interception of DIRECTV's
encrypted signal. Comp. j 19; Admission Nos. 17, 18.

8. Powell used a credit card to pay for both the November
28, 2001 order and the December 13, 2001 order. All three devices
that were ordered from DSS Whiz were delivered “C.O.D.” (cash on
delivery). Upon C.O.D. deliveryl by the United States Postal
Service or other common carrier, Powell paid cash for the device.
Admission Nos. 12, 24, 25.

9. At the time Powell purchased the devices, he knew or
should have known that such device had the primary design for the
purpose of unauthorized interception of DIRECTV's encrypted signal.
Admission Nos. 14, 26.

10. Powell knew or should have known that the manufacture,
assembly, distributionl sale and/or possession of the devices he
purchased from.DSS Whiz were illegal and prohibited. Admission Nos.
15, 27.

11. Powell knew or should have known that receiving or
assisting others in receiving DIRECTV’s satellite transmissions of
television programming without authorization or payment to DIRECTV

was illegal and prohibited. Admission No. 4.

Case 2:O4-cv-O2399-.]DB-dkv Document 18 Filed 05/03/05 Page 7 of 13 Page|D 33

12. At all times material hereto, Powell possessed the
requisite digital system hardware, including a satellite dish,
integrated receiver/decoder required to use the illegally modified
DIRECTV access card through which he actually and intentionally
received and/or assisted others in receiving DIRECTV's encrypted
satellite transmissions without authorization. Comp. j 21;
Admission No. 3.

13. Powell used or attempted to use one or more of the
devices ordered fron\ DSS Whiz to facilitate the unauthorized
interception of DIRECTV's encrypted signal. Admission No. 3.

II. PROPOSED CONCLUSIONS OF LAW

As previously stated, despite the fact that Powell has not
responded to DIRECTV's motion, this court must still determine
whether the plaintiff is entitled to a judgment as a matter of law.
A. Claim Raised Pursuant to 47 U.S.C. § 605

DIRECTV asserts a claim against Powell for violation of 47
U.S.C. § 605. Section 605(a) makes it unlawful for any
unauthorized person “to receive or assist in receiving any
interstate or foreign communication by radio and use such
communication for his own benefit or for the benefit of another.”
Courts have recognized that satellite television transmission falls
within the definition of radio. National Satellite Sports, Inc.,

v. Eliadas, Inc., 253 F.3d 900 (6th Cir. 2001).

Case 2:O4-cv-O2399-.]DB-dkv Document 18 Filed 05/03/05 Page 8 of 13 Page|D 34

Powell purchased a total of three illegal “access card”
devices over the internet from DSS Whiz. Powell used these devices
to receive and/or assist in receiving unauthorized reception of
DIRECTV's satellite programming. In Community'Television Systems,
Inc. v. Caruso, 134 F. Supp. 2d 455 (D. Conn. 2000), the court
determined that although there was no direct evidence that the
defendants had used illegal access devices which they had
purchased, “use” of the devices is presumed from the purchase of
the devices “absent evidence of non-use or any other use” Id. at
461.

In the present case, Powell admitted to purchasing and using
the pirate access devices. Accordingly, the court finds that
Powell received unauthorized reception of DIRECTV's satellite
programing in violation of 47 U.S.C. § 605.

B. Claims Raised Pursuant to 18 U.S.C. §§ 2510-2521

DIRECTV next asserts a claim against Powell for violation of
18 U.S.C. §§ 2510-2521. Section 2511(1)(a) provides that anyone
who “intentionally intercepts, endeavors to intercept, or procure
any other persons to intercept, any wire, oral, or electronic
communication” is subject to civil and criminal liability pursuant
to 18 U.S.C. § 2520(8.).

In the present case, Powell does not dispute that he purchased

three illegal access devices with the intent to intercept DIRECTV's

Case 2:O4-cv-O2399-.]DB-dkv Document 18 Filed 05/03/05 Page 9 of 13 Page|D 35

satellite signal. Accordingly, the court finds that Powell
intentionally intercepted wire communications in violation of 18
U.S.C. § 2511.

C. Claim Raised Pursuant to Tenn. Code Ann. § 39-13-601

DIRECTV next contends that Powell violated Tenn. Code Ann. §
39-13-601. Section 39-13-601(a)(1)(A) of the Tennessee Code
provides that anyone who “intentionally intercepts, endeavors, to
intercept, or procures any other persons to intercept, any wire,
oral, or electronic communication” is subject to state penalties or
suit.

As discussed previously, Powell admitted to purchasing and
receiving' pirating devices with the intent of surreptitiously
intercepting DIRECTV's satellite signal. Accordingly, by Powell's
own admissions, DIRECTV has established that Powell violated Tenn.
Code Ann. § 39-13-601.

D. Claim Raised Pursuant to Tenn. Code Ann. §§ 39-14-104
and 7-59-109

DIRECTV asserts that Powell violated Tenn. Code Ann. §§ 39-14-
104 and 7-59-109. Section 39-14-104 of the Tennessee Code
prohibits a person from intentionally avoiding payment for services
by obtaining those services by means of “deceptionr fraud,

coercion, false pretense, or any other means . . . .” Section 7-

59-109 states that:

Case 2:O4-cv-O2399-.]DB-dkv Document 18 Filed 05/03/05 Page 10 of 13 Page|D 36

A person also commits the theft of services as prohibited

by 39-14-104, who knowingly: (1) obtains or attempts to

obtain cable television services fron\a company by trick,

artifice, deception, or other fraudulent means with the

intent to deprive such company of any or all lawful

compensation for rendering each type of service obtained.
Tenn. Code Ann. § 7-59-109(a)(1). Therefore, obtaining or
attempting to obtain cable television by any'means, with the intent
to deprive the television company of any or all lawful compensation
constitutes theft of services under section 39-14-104.

In this case, Powell admitted to intentionally obtaining
DIRECTV's services by trick, artifice, deception or other
fraudulent means. DIRECTV has thus established that Powell acted
in violation of Tenn. Code Ann. §§ 39-14-104 and 7-59-109.
Accordingly, the court finds that Powell intentionally avoided
payment for DIRECTV's satellite services in violation of Tenn. Code
Ann. §§ 39-14-104 and 7-59-109.

III. DAMAGES

DIRECTV contends that it is entitled to damages, oosts, and
attorney fees. In regard to Powell’s violation of 47 U.S.C. § 605.
the statute provides for damages and gives the aggrieved party the
option of actual or statutory damages. 47 U.S.C. § 605(e)(3)(i).
DIRECTV has requested that the court award statutory damages. If

statutory damages are awarded, DIRECTV is entitled to “a sum of not

less than $1,000 or more than $10,000, as the court considers just

10

Case 2:O4-cv-O2399-.]DB-dkv Document 18 Filed 05/03/05 Page 11 of 13 Page|D 37
.” for each violation. Id.

DIRECTV insists that it is entitled to damages pursuant to 18
U.S.C. § 2520, because of Powell's violation of 18 U.S.C. § 2511.
Section 2520 states that the court may assess actual damages or
statutory damages of $10,000, whichever is greater.

DIRECTV also asserts that it is entitled to damages pursuant
to Tenn. Code Ann. § 39-13-603, which lists possible damages as:

(1) The greater of:

(A) The sum of the actual damages . .
(B) Statutory damages of . . . ten thousand dollars
($10,000)

(2) Punitive damages; and

(3) A reasonable attorney's fee and other litigation
costs reasonably incurred.

Tenn. Code Ann. § 39-13-603(a).

Each of the statutes relied upon by DIRECTV states that the
court may assess damages. Because DIRECTV has chosen to seek
statutory damages. the presumptive amount of damages is between
$1,000 and $10,000 for each violation of under 47 U.S.C. § 605.
$10,000 under 18 U.S.C. § 2520, and $10,000 under Tenn. Code Ann.
§ 39-13~603. The court finds that the minimum award under these
statutes, which would be $23,000, is excessive under these facts.
DIRECTV has offered no evidence that Powell profited from the use
of these pirating devices. other than from the money he saved by
not paying for DIRECTV's services.

Accordingly, the court, in its discretion to award damagesl
finds that no damages should be awarded under either 47 U.S.C. §
605 or Tenn. Code Ann. 39-13-603. The court does find that DIRECTV

is entitled to statutory damages of $10,000 pursuant to 18 U.S.C.

11

Case 2:O4-cv-O2399-.]DB-dkv Document 18 Filed 05/03/05 Page 12 of 13 Page|D 38
§ 2520. Finally, pursuant to Tenn. Code Ann. § 39-13-603, the

court finds that DIRECTV is entitled to an award of reasonable
attorney fees and litigation expenses. DIRECTV should be given
thirty {30) days from the date of the adoption of this report and
recommendation to submit proof of fees and expenses incurred in
pursuing this litigation.

Respectfully submitted this 3rd day of May, 2005.

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prng /‘\V //MF/VJ/
DIANE K. VESCOVO

U'NITED STATES MAGISTRATE JU'DGE

12

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Honorable .1. Breen
US DISTRICT COURT

